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ATTORNEY FOR DEBTOR

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                  §
                                        §
PREFERRED READY-MIX LLC,                §        CASE NO. 21-33369
                                        §
        Debtor.                         §              Chapter 11


DEBTOR PREFERRED READY-MIX LLC’S OBJECTION TO CLAIM OF MATTHEW
                     TYSON (CLAIM NO. 13)

        THIS IS AN OBJECTION TO YOUR CLAIM. THIS OBJECTION ASKS
        THE COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THIS
        BANKRUPTCY CASE. IF YOU DO NOT FILE A RESPONSE WITHIN 30
        DAYS AFTER THE OBJECTION WAS SERVED ON YOU, YOUR CLAIM
        MAY BE DISALLOWED WITHOUT A HEARING.
        A HEARING HAS BEEN SET ON THIS MATTER ON APRIL 6, 2022 AT
        11:00 A.M. BEFORE THE HONORABLE JEFFREY P. NORMAN, UNITED
        STATES BANKRUPTCY COURT.




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TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

        Comes now Preferred Ready-Mix LLC, Debtor herein (“Debtor”), and files this its

Objection to Claim of Matthew Tyson, and would respectfully show this Court as follows:

                                          I. JURISDICTION
        1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B).

        2.      Venue is proper pursuant to 28 USC § 1408 and 1409.

                     II. FACTUAL AND PROCEDURAL BACKGROUND

        3.      On October 14, 2021 (“Petition Date”) the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code 11 U.S.C. §§ 101 et seq. (the

“Bankruptcy Code”).

        4.      The Debtor’s plan of reorganization has not yet been confirmed.

        5.      Matthew Tyson (the “Claimant”) filed proof of claim no. 13 in the Debtor’s case in

the amount of $57,110.21 (the “Claim”). A true and correct copy of the proof of claim is attached

hereto as Exhibit “A.”

                                      III. OBJECTIONS TO CLAIM

        6.      The Debtor objects to the Claim for the following reasons:

                a.       The Debtor objects to the Claim in its entirety as the Claimant has caused

        irreparable harm to debtor. The harm caused to Debtor by the Claimant exceeds any and

        all amounts claimed against Debtor.

        7.      Claimant was withdrawn as a member of the Debtor due to breach of fiduciary duty,

breaching verbal agreement or otherwise failing to carry out the obligations under the agreement.




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        8.         Claimant borrowed $30,000.00 from his father, Wayne Tyson, using Debtor’s

assets as collateral and absconded with the money. Claimant embezzled money from Debtor by

diverting funds from the Debtor’s account into his personal bank account.

        9.         Debtor suffered irreparable harm due to the detrimental actions by Claimant.

Debtor is not indebted to Claimant as the funds embezzled from Debtor by Claimant exceeds any

amounts owed to Claimant.

        10.        Based on the foregoing, the Debtor objects to the allowance of any part of the

Claim. The Affidavit of Robert Foran is attached hereto as Exhibit “B.”

        WHEREFORE, PREMISES CONSIDERED, the Debtor requests the Court to enter an

order disallowing the Claim and granting such other and further relief to which the Debtor may be

justly entitled.

        Dated: February ___, 2022.

                                                      Respectfully submitted,

                                                        /s/ Joyce W. Lindauer
                                                      Joyce W. Lindauer
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                                                      Joyce W. Lindauer Attorney, PLLC
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                                      CERTIFICATE OF SERVICE
        This is to certify that on February ___, 2022, a true and correct copy of the foregoing
document was served via email pursuant to the Court’s ECF system upon the parties receiving
electronic notice in this case. The Claimant was served by United States first class certified mail,
return receipt requested, at the address listed below.

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Matthew Tyson
The Ventress Firm, P.C.
1322 Space Park Dr., Ste C222
Houston, TX 77058


                                                       /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer




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